                 Maureen Gaughan
                 Bankruptcy Trustee
                 PO Box 6729
1A
 /2009
 /2011
 ary
 101-7-TFR
 3 Services      Chandler, Arizona 85246
                                                        UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF ARIZONA


                In Re:                                                                          §
                                                                                                §
                GUTIERREZ, DAVID A.                                                             §           Case No. 4:19-13178-SHG
                GUTIERREZ, NATALIE A.                                                           §
                                                                                                §
                                                              Debtors                           §

                                                             TRUSTEE’S FINAL REPORT (TFR)

                           The undersigned trustee hereby makes this Final Report and states as follows:

                       1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                 10/16/2019 . The undersigned trustee was appointed on 10/16/2019 .

                           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                        3. All scheduled and known assets of the estate have been reduced to cash, released to
                the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                disposition of all property of the estate is attached as Exhibit A.

                           4. The trustee realized gross receipts of                                             $                 7,709.00

                                                  Funds were disbursed in the following amounts:

                                                  Payments made under an interim                                                          0.00
                                                  disbursement
                                                  Administrative expenses                                                              0.00
                                                  Bank service fees                                                                   21.35
                                                  Other payments to creditors                                                          0.00
                                                  Non-estate funds paid to 3rd Parties                                             1,321.52
                                                  Exemptions paid to the debtor                                                        0.00
                                                  Other payments to the debtor                                                         0.00
                                                                                            1
                                                  Leaving a balance on hand of                                   $                 6,366.13

                 The remaining funds are available for distribution.

          ____________________
                     1
                        The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
          will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
          maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 08/31/2020 and the
      deadline for filing governmental claims was 08/31/2020 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 1,388.75 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 1,388.75 , for a total compensation of $ 1,388.75 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 39.64 , for total expenses of $ 39.64 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 05/18/2021                                     By:/s/Maureen Gaughan
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                                                  FORM 1
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:        1
                                                                                               ASSET CASES                                                                                                             Exhibit A
Case No:             4:19-13178-SHG S-G Judge: SCOTT H. GAN                                                                                     Trustee Name:                     Maureen Gaughan
Case Name:           GUTIERREZ, DAVID A.                                                                                                       Date Filed (f) or Converted (c):   10/16/19 (f)
                     GUTIERREZ, NATALIE A.                                                                                                     341(a) Meeting Date:               12/06/19
For Period Ending: 05/18/21                                                                                                                    Claims Bar Date:                   08/31/20



                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 1. 2245 West San Tan Hills DriveQueen Creek AZ 85142-                                    187,400.00                          37,400.00                                                0.00                     FA
 2. 2015 Dodge Dart mileage: 84000                                                           4,000.00                               0.00                                               0.00                     FA
 3. 2003 Chrysler TLX mileage: 167700                                                           400.00                              0.00                                               0.00                     FA
 4. Misc household goods and furnishings                                                     1,050.00                               0.00                                               0.00                     FA
 5. Kitchenware                                                                                 100.00                              0.00                                               0.00                     FA
 6. Misc household tools                                                                          0.00                              0.00                                               0.00                     FA
 7. Refrigerator, washer/dryer                                                                  800.00                              0.00                                               0.00                     FA
 8. Cell phones, TV, DVD, Computer                                                              250.00                              0.00                                               0.00                     FA
 9. Books, DVDs                                                                                 100.00                              0.00                                               0.00                     FA
 10. Misc clothing                                                                              450.00                              0.00                                               0.00                     FA
 11. Misc jewelry                                                                               300.00                              0.00                                               0.00                     FA
 12. Dog, Bird                                                                                  190.00                              0.00                                               0.00                     FA
 13. Chase Bank                                                                                 500.00                              0.00                                               0.00                     FA
 14. City of Phoenix Retirement                                                                 478.21                              0.00                                               0.00                     FA
 15. Minnesota Life Insurance - Term                                                              0.00                              0.00                                               0.00                     FA
 16. TAX REFUND (u)                                                                               0.00                              0.00                                           7,425.36                     FA
 17. WAGES (u)                                                                                    0.00                              0.00                                            283.64                      FA

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                       $196,018.21                         $37,400.00                                           $7,709.00                            $0.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   Initial Projected Date of Final Report (TFR): 10/16/21           Current Projected Date of Final Report (TFR): 10/16/21




LFORM1                                (Page: 3)4:19-bk-13178-SHG
         UST Form 101-7-TFR (5/1/2011)Case                                                Doc 25          Filed 05/26/21              Entered 05/26/21 10:06:01                      Desc                                      Ver: 22.03b
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                                                                                               FORM 2                                                                                                    Page:      1
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                       Exhibit B
  Case No:           4:19-13178-SHG -S-G                                                                                    Trustee Name:                       Maureen Gaughan
  Case Name:         GUTIERREZ, DAVID A.                                                                                    Bank Name:                          Axos Bank
                     GUTIERREZ, NATALIE A.                                                                                  Account Number / CD #:              *******6918 Checking Account
  Taxpayer ID No:    *******1954
  For Period Ending: 05/18/21                                                                                               Blanket Bond (per case limit):      $ 24,320,024.00
                                                                                                                            Separate Bond (if applicable):


           1             2                             3                                                4                                                 5                          6                         7
    Transaction      Check or                                                                                                      Uniform                                                               Account / CD
       Date          Reference               Paid To / Received From                        Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                                                                BALANCE FORWARD                                                                                                                         0.00
          05/28/20    16, 17     UNITED STATES TREASURY                         TAX REFUND                                        1224-000                    7,547.00                                             7,547.00
          05/28/20      16       DAVID A. GUTIERREZ                             TAX REFUND                                        1224-000                     162.00                                              7,709.00
          02/17/21    002001     DAVID A. GUTIERREZ                             Non Estate Funds                                  8500-000                                               1,321.52                  6,387.48
                                 NATALIE GUTIERREZ
                                 2245 WEST SAN TAN HILLS DRIVE
                                 QUEEN CREEK, AZ 85142
          03/03/21               Axos Bank                                      BANK SERVICE FEE                                  2600-000                                                   7.50                  6,379.98
          04/02/21               Axos Bank                                      BANK SERVICE FEE                                  2600-000                                                   7.04                  6,372.94
          05/03/21               Axos Bank                                      BANK SERVICE FEE                                  2600-000                                                   6.81                  6,366.13

                                                                                                        COLUMN TOTALS                                         7,709.00                   1,342.87                   6,366.13
                                                                                                            Less: Bank Transfers/CD's                             0.00                       0.00
                                                                                                        Subtotal                                              7,709.00            1,342.87
                                                                                                            Less: Payments to Debtors                                             1,321.52
                                                                                                        Net
                                                                                                                                                              7,709.00               21.35
                                                                                                                                                                                NET                             ACCOUNT
                                                                                                        TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                                        Checking Account - ********6918                      7,709.00                        21.35                  6,366.13
                                                                                                                                                ------------------------    ------------------------   ------------------------
                                                                                                                                                             7,709.00                        21.35                  6,366.13
                                                                                                                                                ==============             ==============              ==============
                                                                                                                                                 (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                            Transfers)               To Debtors)                    On Hand




                                                                                                                            Page Subtotals                    7,709.00                    1,342.87
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          UST Form 101-7-TFR (5/1/2011)Case                                                                                                                                                                        Ver: 22.03b
LFORM24                                                                      Doc 25       Filed 05/26/21           Entered 05/26/21 10:06:01                         Desc
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                                      TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                       Exhibit D

     Case No.: 4:19-13178-SHG
     Case Name: GUTIERREZ, DAVID A.
                 GUTIERREZ, NATALIE A.
     Trustee Name: Maureen Gaughan
                      Balance on hand                                               $                  6,366.13

             Claims of secured creditors will be paid as follows:


                                                           NONE


             Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                          Interim Payments Proposed
                      Reason/Applicant               Total Requested      to Date          Payment
      Trustee Fees: Maureen Gaughan                 $         1,388.75 $                0.00 $         1,388.75
      Trustee Expenses: Maureen Gaughan             $               39.64 $             0.00 $             39.64
               Total to be paid for chapter 7 administrative expenses               $                  1,428.39
               Remaining Balance                                                    $                  4,937.74


             Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                           NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                Allowed priority claims are:


                                                           NONE




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             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 24,083.80 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 20.5 percent, plus interest (if
     applicable).

                Timely allowed general (unsecured) claims are as follows:

                                                     Allowed Amount       Interim Payments Proposed
    Claim No.          Claimant                      of Claim             to Date          Payment
    000001             LVNV Funding, LLC           $           536.56 $              0.00 $           110.01
                       Quantum3 Group LLC as
    000002             agent for                   $         6,669.08 $              0.00 $         1,367.32
                       JPMorgan Chase Bank,
    000003             N.A.                        $           875.84 $              0.00 $           179.57
                       JPMorgan Chase Bank,
    000004             N.A.                        $         2,580.45 $              0.00 $           529.05
    000005             Midland Funding LLC         $         3,787.68 $              0.00 $           776.56
    000006             Midland Funding LLC         $         1,966.96 $              0.00 $           403.27
    000007             CAPITAL ONE, N.A.           $         1,905.88 $              0.00 $           390.75
    000008             CAPITAL ONE, N.A.           $         2,944.20 $              0.00 $           603.63
                       Portfolio Recovery
    000009             Associates, LLC             $         2,002.33 $              0.00 $           410.52
                       Resurgent Receivables
    000010             LLC                         $           814.82 $              0.00 $           167.06
               Total to be paid to timely general unsecured creditors               $               4,937.74
               Remaining Balance                                                    $                   0.00




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             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                Tardily filed general (unsecured) claims are as follows:


                                                           NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                           NONE




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